  


                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    NORTHERN DIVISION



 GLOBAL AEROSPACE, INC.,

 Plaintiff / Counter-Defendant,
                                                  Case No.: 3:15-cv-105
 v.
                                                  District Judge Pamela L. Reeves
 PHILLIPS AND JORDAN,
 INCORPORATED i/s/a/ PHILLIPS &                   Magistrate Judge C. Clifford Shirley
 JORDAN, INC.,
                                                                JOINT MOTION
 Defendant / Counter-Plaintiff,

 v.

 AMERICAN ALTERNATIVE INSURANCE
 CORPORATION, et al.,

 Counter-Defendants.


                        PARTIES’ JOINT MOTION FOR ORDER PURSUANT
                           TO FEDERAL RULE OF EVIDENCE 502(d)

          Defendant/Counter-Plaintiff Phillips and Jordan, Incorporated (“Phillips & Jordan”),

 Plaintiff/Counter-Defendant Global Aerospace, Inc. (“Global”), Counter-Defendant American

 Alternative Insurance Corporation (“American Alternative”), Counter-Defendant American

 Commerce Insurance Company (“American Commerce”), Counter-Defendant Mitsui Sumitomo

 Insurance Company of America (“Mitsui”), Counter-Defendant National Indemnity Company

 (“National Indemnity”), and Counter-Defendant Tokio Marine America Insurance Company

 (“Tokio Marine”) (collectively, the “Parties”), pursuant to Rule 502(d) of the Federal Rules of

 Evidence, hereby jointly move for and agree to the entry of an order:



  
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          1.        On June 23, 2015, the Parties’ attorneys held the required Rule 26 conference and

 discussed this case’s discovery procedure and schedule.

          2.        On July 2, 2015, the Parties filed their Joint Discovery Plan Pursuant to Federal

 Rule of Civil Procedure 26(f)(3) [Docket Entry #54].

          3.        Subsequent to the Parties’ initial Rule 26 conference, the Parties again conferred

 via telephone on January 20, 2016, to discuss matters related to e-discovery more specifically.

          4.        During the January 20, 2016 conference, the Parties agreed to file a joint motion

 for a protective order pursuant to Federal Rule of Evidence 502(d).

          5.        Pursuant to Federal Rule of Evidence 502(d), “[a] federal court may order that the

 privilege or protection [of attorney-client communications or attorney work product] is not

 waived by disclosure connected with the litigation pending before the court – in which event the

 disclosure is also not a waiver in any other federal or state proceeding.” Fed. R. Evid. 502(d).

          6.        The Parties ask this Court to enter an order that any disclosure of privileged

 documents in this litigation is not a waiver of the privilege in this matter, or any other federal or

 state proceeding.

          7.        An agreed order is attached hereto as Exhibit A.

          WHEREFORE, the Parties respectfully move this Court to enter an Order, pursuant to

 Federal Rule of Evidence 502(d), that the attorney-client privilege and attorney work product

 protection are not waived by disclosure connected with the instant litigation, that such a

 disclosure is also not a waiver in any other federal or state proceeding, and that nothing in the

 Order will prevent the Parties from performing a reasonable review of their respective

 documents for privilege before production to the opposing party.




  
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 Dated: March 2, 2016                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on March 2, 2016, I electronically filed the foregoing
 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 is being served this day on all counsel of record or pro se parties identified on the attached
 Service List in the manner specified, either via transmission of Notice of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or parties who are
 not authorized to receive electronically Notices of Electronic Filing.

                                            s/ Brigid M. Carpenter
                                            Brigid M. Carpenter




  
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                                           SERVICE LIST

             United States District Court, Eastern District of Tennessee, Northern Division
                      Global Aerospace, Inc. v. Phillips and Jordan, Incorporated
                                         Case No.: 3:15-cv-105

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